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       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                      CENTRAL DIVISION




 UNITED STATES OF AMERICA,
                         Plaintiff,                                    ORDER
                                                                         AND
                  vs.                                      MEMORANDUM DECISION


 CEDRIC D. BURKS,                                            Case No. 2:07-CR-173-TS
                         Defendant.



       On April 28, 2010, a jury convicted Defendant Cedric D. Burks of transportation of a

stolen vehicle in interstate commerce and sale or receipt of a stolen vehicle (in violation of 18

U.S.C. §§ 2312, 2313, and 2 (aiding and abetting)). Although Mr. Burks has been sentenced, the

question of what amount of restitution he owes is disputed by the parties and must now be

resolved by the court.

       The restitution dispute centers around the value of a Cadillac Escalade SUV tied to the

criminal activities of Mr. Burks and his Co-Defendants and how much of that value, if any, Mr.

Burks must pay to the victims. The United States seeks an order requiring Mr. Burks to pay

$50,977.00 in restitution to victims B.P. (original owner of the SUV) and B.P.’s auto insurer,

American National Property and Casualty Company. Mr. Burks disputes the amount sought by

the government.

       The parties briefed the issue, and the court held a hearing on November 16, 2010, to hear

evidence and argument. For the reasons set forth below, the court, pursuant to 18 U.S.C.
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§ 3663A, holds in favor of the United States and orders Mr. Burks to pay $50,977.00 in

restitution (as set forth in more detail below).

                                        BACKGROUND

       In April 2005, the 2004 Cadillac Escalade ESV (VIN # 3GYFK66N14G257612) at issue

here (“SUV”) was stolen in Las Vegas, Nevada. In April 2006, law enforcement recovered the

SUV in Salt Lake City, Utah, from Mr. Burks’s Co-Defendants Abraham Elliott and Caesar

Martinez (Mr. Burks never had actual possession of the SUV).

       The Defendants, including Mr. Burks, were charged with running an auto theft ring. The

SUV had been stripped of its parts and later reassembled to unknown standards by persons of

unknown skill (apparently members of the auto theft ring) using parts of uncertain provenance.

       In April 2006, the government placed the seized SUV in storage with the Utah Motor

Vehicle Enforcement Division (UMVED). UMVED stored the SUV until July 7, 2010, when the

U.S. Marshals took possession of the SUV as part of ongoing forfeiture proceedings under 18

U.S.C. § 981(a)(1)(F) (Case No. 2:10-CV-625-TC).1

       The SUV is not in a condition that would allow the State of Nevada or the State of Utah

to issue a valid title for it. Nevada has issued a Certificate of Non-Repairable Vehicle for the

SUV. By its terms, the Certificate is not a title and only allows the SUV to be used and sold as



       1
        Mr. Burks protests the fact that the SUV was in storage for four years, purportedly
depreciating in value when it could have been returned to the insurance company immediately
upon recovery and supposedly resold for a much higher amount. But the SUV was potential
evidence in a criminal prosecution, and it is reasonable to expect that the government would keep
the impounded SUV until those proceedings (i.e., the prosecution of Mr. Burks and his Co-
Defendants) were resolved. Mr. Burks essentially makes a “failure to mitigate damages”
argument, which is unpersuasive and has no application in this restitution proceeding.

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parts and scrap metal. Similarly, a representative of UMVED testified that, based on the known

history of the SUV, the State of Utah would not issue a title for the SUV or certify its safety as a

motor vehicle.2 The U.S. Marshals plan to sell the SUV, through the separate forfeiture

proceedings,3 “as is.” The value of the SUV is most likely limited to the value of its parts.4

       After the SUV was stolen, the original owner of the SUV filed a claim with his

automobile insurance company, American National Property and Casualty Company. Before the

SUV was recovered, the claim had been processed. The owner paid a $1,000 deductible, and

American National paid $49,977.00, for a total actual loss of $50,977.00.

       Mr. Burks disputes the amount presented by the government and contends that the

government’s method of calculation is incorrect and unfairly prejudicial to him.

                                            ANALYSIS

       The purpose of restitution is to make the victim whole. E.g., Unites States v. James, 564

F.3d 1237, 1246 (10th Cir. 2009). The parties do not dispute that the victims in this case are the



       2
         Mr. Burks’s unsupported contention that the government planned to use the SUV in its
undercover operations makes no sense. The court takes judicial notice that a law enforcement
agency would not allow its officers to drive an untitled, unlicensed, uncertified and uninsurable
vehicle.
       3
         Because the forfeiture proceedings are still pending, there is no guarantee that the sale
will go forward as planned.
       4
         In a separate agreement with Mr. Burks and his Co-Defendants, the U.S. Attorney’s
Office will deduct whatever amount of money the U.S. Marshals receive from auction of the “as
is” SUV from the amount of restitution owed by the Defendants. But that agreement is separate
from the amount of restitution jointly and severally owed by Mr. Burks under the restitution
statute, 18 U.S.C. § 3663A. See United States v. McGlinty, 610 F.3d 1242, 1247-48 (10th Cir.
2010) (noting that criminal forfeiture and restitution are separate remedies with different
purposes). Accordingly, the court, when determining the amount of restitution, will not consider
any speculative value the U.S. Marshals may recover from sale of the SUV.

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original SUV owner and the insurance company that paid the claim.

       Restitution in this case is mandatory under the Mandatory Victims Restitution Act

(MVRA), 18 U.S.C. § 3663A. The procedures for issuing an order of restitution are set forth in

18 U.S.C. § 3664. Generally speaking, the nature and amount of restitution is left to the court’s

discretion. See 18 U.S.C. § 3664(a) (noting that the court exercises its discretion in fashioning a

restitution order). Nevertheless, the court “shall order restitution to each victim in the full

amount of each victim’s losses as determined by the court and without consideration of the

economic circumstances of the defendant.” 18 U.S.C. § 3664(f)(1)(A).

       Because this is a case that resulted in damage to and loss of property, Mr. Burks must

make the victims whole in one of two ways: (1) returning the property to the owner; or (2) if

return of the property is impossible, impracticable or inadequate, paying the victims an amount

calculated based on criteria set forth in § 3663A. See 18 U.S.C. § 3663A(b)(1).

       The first option—returning the property to the owner—is not appropriate here because

returning the SUV to compensate the victims would be impracticable and inadequate. When the

SUV was stolen, it was a year old and in good condition. When the SUV was recovered, it had

been stripped and re-fitted with parts. The SUV was, and remains, ineligible for title in Nevada

or Utah. The state of (and value of) the SUV is so diminished from the date it was stolen that to

return it to the original owner or the insurance company for possession or resale would not make

the victims whole.

       Accordingly, the second option is the appropriate method for determining restitution to be

paid by Mr. Burks. Based on criteria set forth in the restitution statute, the court determines the

amount of restitution by subtracting the value of the property (if any) when it was returned from

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the value of the property at the time of loss.5

       Mr. Burks contends that the government’s measure of restitution is not fairly calculated

under the statute’s formula.6 He argues that the government’s failure to immediately return the

vehicle to the “rightful owner, i.e., American National Insurance”7 after seizure in 2006

improperly prejudiced him by devaluing an asset that could have and should have been used to

offset the insurance company’s loss, i.e., requiring him to pay more restitution now than he

would have paid if the SUV had been promptly returned to the insurance company, presumably

for re-sale. To support his argument, he submitted a report from an automobile dealer who

opined on the estimated values of the SUV over time since its purchase in 2004. (See

Attachment 1 to Def.’s Final Mem. Re: Restitution (Docket No. 613).)

       Mr. Burks’s argument is problematic for at least four reasons. First, his argument is

based on a fallacious assumption that the SUV had resale value as a fully-licensed,

uncompromised vehicle at the time it was recovered by law enforcement. Second, Mr. Burks

never owned the SUV so he has no right or ability to dictate transfer of the asset. Third, although

the court makes no finding as to the automobile dealer’s expertise, the court finds that the


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         For the equation, the court selects the value at the time of loss because the value of the
property at the time of sentencing is less. See 18 U.S.C. § 3663A(b)(B) (requiring payment equal
to the greater of the property value at the time of loss or the value of the property at the time of
sentencing less the value of any returned property). That is, at the time of sentencing, the SUV
was worth only what a salvage sale would bring, as opposed to the necessarily higher value of a
one-year-old SUV in good condition at the time it was stolen.
       6
       In the alternative, Mr. Burks argued that the proper measure of restitution is zero because
the SUV could and should have been returned to the owner in 2006. But the court rejects that
argument because, as noted above, returning the SUV to the owner as a form of restitution would
be impracticable and inadequate.
       7
           Def.’s Response to Gov’t Mem. Re: Restitution (Docket No. 605) at 3.

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depreciation formula and the data upon which the expert’s opinion is based, as well as his

mathematical “conclusion” (the substance of the which is not entirely clear from the Defendant’s

papers), are speculative and based on an incorrect assumption of facts. And fourth, the insurance

company already accounted for salvage sale income. (See U.S.’s Mem. Re: Restitution (Docket

No. 598) at 5 (as documented by Attachments A and B).)

       The court finds the government’s calculation of the restitution amount to be reasonable

and based on appropriate and ascertainable amounts. The original owner suffered a monetary

loss of $1,000. The insurance company suffered a loss of $49,977.00. (See id.)

       “[A] restitution order under the MVRA must be based on actual loss.” United States v.

Parker, 553 F.3d 1309, 1324 (10th Cir. 2009); see also James, 564 F.3d at 1246 (a court’s

reasonable determination of appropriate restitution should be “rooted in a calculation of actual

loss”). There is no dispute that the actual loss of the two victims totaled $50,977.00. Payment of

that amount to the two victims would make them whole. The government’s proposal is a logical

way to assess the SUV’s value (and less speculative than Mr. Burks’s suggested method).

                                             ORDER

       For the foregoing reasons, the court ORDERS as follows:

       1.      Restitution in the amount of $50,977.00 is owed jointly and severally by

Defendant Cedric Burks and Co-Defendants Nicholas Peck, Abraham Elliott, Levi Elliott, John

Guerrero and Caesar Martinez (as already imposed by the Honorable Ted Stewart in this case,

United States v. Peck (Case No. 2:07-CR-173-TS (D. Utah)). Restitution is due immediately.

       2.      Defendant Cedric Burks must make a minimum payment of $100.00 every month

toward the total restitution amount he owes jointly and severally.

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        3.     Pursuant to 18 U.S.C. § 3664(i), Mr. Burks’s restitution payments shall be

allocated first to B.P., the natural person victim, and then to the American National Property and

Casualty Company, the corporate victim, after B.P. has been allocated the proper amount of

restitution.

        4.     No payment of interest on the restitution amount is required.

        5.     If Mr. Burks fails to pay restitution as ordered, the court, pursuant to 18 U.S.C.

§ 3614, may re-sentence him to any sentence that originally may have been imposed in this case.

        6.     Mr. Burks shall notify the court and the Attorney General of any material change

in Mr. Burks’s economic circumstances that might affect his ability to pay restitution.

        DATED this 19th day of November, 2010.

                                              BY THE COURT:



                                              TENA CAMPBELL
                                              Chief Judge




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